       2:15-cv-14467-AC-MKM
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                                    UNITED STATES COURT OF APPEALS
                                         FOR THE SIXTH CIRCUIT
                                         100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt                     POTTER STEWART U.S. COURTHOUSE                          Tel. (513) 564-7000
        Clerk                               CINCINNATI, OHIO 45202-3988                        www.ca6.uscourts.gov




                                                           Filed: April 19, 2017

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                      Re:    Case No. 17-1227, Cynthia Archer-Gift v. Citigroup, Inc., et al
                             Originating Case No. : 2:15-cv-14467

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                           Sincerely yours,

                                                           s/Connie A. Weiskittel
                                                           Mediation Administrator

cc: Mr. David J. Weaver

Enclosure

No mandate to issue
        2:15-cv-14467-AC-MKM
               Case: 17-1227 Document:
                              Doc # 55 19-2
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                                                                     Pg ID1622               (2 of 2)



                                         Case No. 17-1227

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



CYNTHIA ARCHER-GIFT

              Plaintiff - Appellant

v.

CITIGROUP, INC.; HOME DEPOT, INC.; SEARS, ROEBUCK AND COMPANY

              Defendants - Appellees



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: April 19, 2017
                                                  ___________________________________
